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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 lJNITED STATES OF AMERICA,

 -v-                                                         Cr. No. 09-716 (FB)

 AffMAD WAIS AFZALI,

                                       Defendant.
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               DEFENDANT'S PRE-SENTENCE MEMORANDUM 

                           WITH APPENDIX 





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Dated:        New York, New York
              April 9,2010
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 UNITED STATES DISTRICT COURT 

 EASTERN DISTRICT OF NEW YORK 

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 UNITED STATES OF AMERICA, 


 -v-                                                           Cr. No. 09-716 (FB)

 AHMAD WAIS AFZALI,

                                       Defendant. 

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            DEFENDANT'S PRE-SENTENCE MEMORANDUM


I.      INTRODUCTION

        The defendant has reviewed the PSIR and the addenda thereto,

interposes no objection, and respectfully requests that this Court endorse the

recommendation in the PSIR and sentence him to time served.


II.    THE LIFE OF AHMAD W AIS AFZALI

              I can proudly say that my son is faithful, harmless, and a
       beautiful hearted human being. ...He is a hard working young man
       pursuing his American dream . .. 1 remember when we went to HAJJ
       (pilgrimage to Mecca). Coming backfrom HAJJ at the Kennedy
       airport he got on his knees, bent down forward, kissed the ground and
       said "Thank God we are home." He just loves this great nation.

                           --Zalmai Afzali on his son, Ahmad Wais Afzali (A.l).


       Born in Kabul, Afghanistan, Ahmad Wais Afzali ("Imam Afzali")

was ten years old when he and his family came to the United States of


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 America in pursuit of a "better life" in 1981. (A. 1). For nearly thirty years,

 he has called this country "home." In this country, he received an education,

 he became a religious leader, he advocated peace, he met his current wife,

 and he had children of his own.

       As Imam Afzali prepares to leave this country      moving away from

 his family, his friends, and his community    those who know him speak, not

 of the detriment to Imam Afzali, but of the immense loss to his family, his

 friends, the Muslim community, and the people of this country. Imam

Afzali is "a proud American resident," and a "faithful person," (A.2), who

"is all about respect and peace." (A.3). He is "caring," "kind," and

"generous"; he gives to others "out of the goodness of his heart," expecting

nothing in return. (AA).He "set a good example for others," by always

helping those in need. (A.S). Imam Afzali is "a true asset" to the Muslim

community, (A.6), a "good friend," (A.7), a "peacemaker," and a "leader" to

his peers. (A.8). He is "a son, a brother, a husband, an uncle, and most of

all, a father." (A.8). His family, his friends, and his community "need"

him. (A.8).

      Imam Afzali' s life in the U.S. began when his parents, Zalmai and

Salima, relocated to this country with him and his two brothers - Ahmad

Waheed Afzali (Waheed), and Ahmad Walid Afzali (Walid). They settled in


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 Flushing, New York. Waheed, Imam Afzali's older brother, recalls, "We

 grew up in this beautiful country to pursue the 'American Dream' together."

 (A.2).

          What began as just a "dream" became a reality for the Afzali family.

 Imam Afzali' s father, Zalmai, is now a successful restaurateur, and he owns

 two homes and more than five acres of land. Imam Afzali's two brothers

 live near their parents in Virginia and manage their father's restaurants.

 Both are married and now have families of their own. They all are "proud to

 be in this country." (A.3).

          Imam Afzali still lives in the Flushing, New York home in which his

parents raised him and his brothers. He, too, has utilized the unique

opportunities with which thiscouhtry has presented him. He attended the

Institute of Islamic and Arabic Sciences in America (IIASA), and spent

nearly ten years studying under Islamic scholars. For the past decade, Imam

Afzali has been using this wealth of acquired knowledge to give back to his

country and his community.

      From 1999 through 2001, Imam Afzali worked as an Assistant Imam

at Masjid Hazrat-i-Abubakr. Serving in that capacity, Imam Afzali taught

Islamic education classes, led prayers, organized religious affairs for the

community, and participated in interfaith events. (A.9). Abulrahman JaHli,


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 President of the masjid, notes Imam Afzali's growth: the "valuable" 


 employee has become "a respected Imam." (A.9). 


       Devoted to the Islamic faith, Imam Afzali attained the position of

 religious leader in the Muslim community. Yet, his influence crosses

 religious lines. As a "proud American resident," (A.2), and as the voice of

 his American Muslim community, Imam Afzali became an "activist" (A.1 0)

 for peace and coexistence. Stepping out of the shadow cast on Muslims in

post 9/11 America, Imam Afzali visited multiple New York colleges,

educating students on religious and cultural issues, and attempting to shatter

the stereotypes of American Muslims. Through his lectures and his

participation in multi-faith panel discussions, Imam Afzali sparked dialogue

between Muslims and non--Muslims, encouraged students to get involved in

their communities, and advised both Muslims and non-Muslims on how to

be better Americans and better people. As observed by Mr. Jalili, Imam

Afzali "has proven to be a valuable asset to the Muslims, Christians, and

Jews." (A.9).

      Amatulla H., who has attended Imam Afzali's lectures, "admires"

him, and has noticed "numerous positive changes" in the community as a

result of his work. (A. I I ). She remembers, "He taught us not to waste time,

but to always use our intellect and time wisely and for the best of our


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 community." (A. 11). According to Amatulla H., Imam Afzali "has greatly

 benefited the effort to bring both Muslim and Non-Muslims together to learn

 and speak openly to one another about the misconceptions about Islam."

 (A.II).

        Ahson Mahfooz also speaks of the lessons taught by Imam Afzali: He

 would "talk to the students of various clubs about Leadership," and would

 give "advice on ways to live a better and pure [l]ife." "He assisted me in

 becoming a better American Muslim so that I may help my community grow

 in a [p ]ositive manner." (A. 12).

       Other attendees recall the audience's response: "[I]rrespective of

religion[,] each person applauded Afzali's good humor, effective speaking

methods, and his positive aura," says Latifa Hamzane. (A.13). "The

audience was awed by his charm, wittiness, and manners," says Ali Jawad, a

student at the College of Staten Island and former President of the Muslim

Student Association. (A.14).

       While these interfaith events provided Imam Afzali with a forum to

spread his message to nQn-Muslims, his lessons reached the ears of the

Muslim community primarily by way of his sermons. In preaching to the

congregation, Imam Afzali promoted peace, denounced terrorism, and

emphasized the importance of being loyal to this country. (A. IS, A.16,


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 A.17). "He is hope for our community, for our youth, that could otherwise

 go off in extreme or careless paths, and it is characters like him that decrease

 the ignorance, the hate, and the extremism," Zamu Roshan lehan says of

 Imam Afzali. (A. 10).

        Imam Afzali' s words have been matched by his deeds. When an

 American soldier of Pakistani background was killed fighting in Iraq, Imam

 Afzali opened his funeral home and assisted in the service and burial, despite

 the fact that other Islamic religious leaders had refused.

http://www.nydailynews.comlarchives/news/200S/03/20/200S-03-20.

       Imam Afzali' s supporters uniformly note the magnitude of his

influence. Latifa Hamzane avers, "He has positively influenced all who

come in contact with him, always promoting peace and equality in addition

to respect for other people irrespective of religion or race." (A.I3). "(H]e

made a difference in so many lives," states Amatulla H. (A.6). In his

peacemaking efforts, Imam Afzali has exhibited a dedication to both his

religion and this country.

       While Imam Afzali is regarded by many as a "peacemaker," (A.I3), a

"community builder," (A.II), a "mentor," and a "leader," (A.S), his most

appreciated role is that of "social worker" - providing help and assistance to

anyone in need. (A.I8, A.7). Imam Afzali is currently the funeral director


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 of Islamic Funeral home, (A.19), and has been consoling and guiding

 families of the deceased for nearly seven years. Explaining Imam Afzali' s

 deeds, Obaid Achekzai informs, "He has helped and supported terminally ill

 patients in the hospitals, hospices and their homes, [has] assist[ ed] people

 who lost their loved ones with funeral precessions, and [has] attend [ed] and

 conduct[ed] wedding and engagement ceremonies." (A.20).

       Several families tell the stories of how Imam Afzali supported them as

they grieved over the loss of a loved one. (A.20, A.16, A.21, A.17). When

Mahboob Khan's mother and brother passed away four years ago, she was

referred to Imam Afzali. Expressing her gratitude, Ms. Khan shares, "He

notonly took care of [the] entire funeral process, but made several visits to

our family to give us comfort and advise [sic]. He is [a] very gentle and

friendly person that we were very lucky to have at the time of deaths in the

family." (A.22).

      To Subhana Rahim, "Imam Afzali's support was invaluable." (A.23).

She explains: "Although death is certain, grieving a loved one is not

easy .... [T]he Imam gently guided my family through our death experience

and gave my father a dignified and lovely janaaza (funeral). Because of the

Imam, my memories of my father's funeral are warm and t'oving. We will

always be grateful to him for this." (A.23).


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       Zamu Roshan lehan discusses Imam Afzali 's "open-minded[ness],"

 and the lesson of acceptance which she learned from Imam Afzali when he

 buried her mother. (A.lO). When her mother died, Ms. lehan expressed

 concern to Imam Afzali that she was not sure if her mother really was a

 Muslim; if she was not, she would not be entitled to an Islamic burial.

 According to Ms. lehan, Imam Afzali "mentioned that no one knows what's

 inside someone's heart, and it is Allah who will judge." (A. I 0). Imam

Afzali gave Ms. 1ehan' s mother the Islamic burial that Ms. 1ehan had hoped

for. "He didn't tum me away," Ms. lehan states thankfully, "and he

answered all of my questions and advised me and my brother." (A.lO). Ms.

lehan notes that she is not the only one who has received the tender support

of Imam Afzali, "[H]e helps so many cope with the, many times, lonely

deaths that occur in the community." (A.10).

      A generous man, Imam Afzali has even provided free funeral services

for people "who couldn't afford it," or "people who died without leaving

behind any guardians to take care of their last rights." (A.7). Nauman

Cheema, who has witnessed that on several occasions, explains that Imam

Afzali is someone who is "there to help beyond the boundaries of religion

and race." (A.7). She knows him to be "a humble individual with




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 compassion for humanity, a well-wisher and a person of upright character."

 (A.7).

          Imam Afzali has certainly left a lasting impression on those who have

 witnessed his good deeds, heard his advice, and felt his support. Speaking

 on behalf of the congregation, Imam Abdul Azeem Khan of The Islamic

 Foundation, Inc. announces: "At times of need in family crisis [Imam

 Afzali] has always been there to serve with compassion, wisdom, and caring.

 He is ... a true supporter not only to this community but to other

communities and also other faiths as well." (A.6). So, too, has Imam Afzali

assisted the community of Masjid Nur Al Islam whenever they needed him.

(A.24). Additionally, Imam Afzali has served the community ofSunnat-UI­

Jamaat of New York, Inc. for almost a decade. (A.25). Tlieyvoice the

value of the Imam's services: "His loyalty to his country, his faith, his

community, family and friends has been above and beyond the call of duty.

He has provided outstanding service and shown true dedication towards the

diverse needs and concern of our congregation and the surrounding

community." (A.25).

      Moreover, Imam Afzali has had an impact on those who have been

fortunate enough to work at his side. Rustam Abdullaev, who has

volunteered at many of the Imam's funeral washings, speaks of Imam


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     Afzali's good example: "From the first day that I met him, he has been

    nothing but friendly and courteous, he always has excellent advice to give,

    and he is always encouraging tranquility and good will. He has positively

    influenced me in many ways, always supporting peace." (A.26).

           Noor Rabah, the Imam's co-worker, shares that sentiment. He

    considers Imam Afzali more than just a co-worker and "brother in faith," but

    a "Father figure." (A.27). He discusses how Imam Afzali's services went

    beyond business: "[RJe took his career to a personal level and saw to it that

    each family was attended to, consoled, educated on life and death and ... he

    created and strengthened bonds amongst family members, amongst brothers

    and sisters in faith, and even amongst nonMuslims who have crossed his

    path." (A.27).

          In addition to the funeral services, sermons, and college lectures, 


    Imam Afzali teaches Arabic and Islamic studies to young children every 


    Saturday morning. (A.28, A.29, A.30). Even five-year-old student _ 


_         ecognizes the Imam's generosity: "Imam Afzali shares his time,

pizza, and wii with us. We enjoy [the] class very much." (A.28). Zakariah

Saidi calls Imam Afzali "a good teacher and funny too." (A.29). Eight­

year-old                 applies the lessons she has learned to Imam Afzali's

situation: "He is a nice man and never hurt anybody .... Our religion teaches


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 not to fight but have peace among us. So that's why he should be let go."

 (A.30).

        Imam Afzali is not just a role-model to the Muslim community, but a

 source of great pride to his family. The Imam's mother, Salima Afzali, says

 of her son: "I was a teacher for almost twenty years and I have taught

 thousands of young students. My duty as a teacher was to present great,

 honest, honorable, smart, and educated individuals into society. I can

 proudly say that Alunad Wais Afzali is not only my son but he was also my

 student." (A.3I). Imam Afzali' s father also expresses his pride in the

 Imam: "I can proudly say that my son is faithful, harmless, and a beautiful

hearted human being. He is full of quality and dignity .... In the time of need

he is always there whether it is a neighbor, relative, or a stranger he goes out

of his way to help others." (A. I).

       Walid Afzali proudly identifies himself as Imam Afzali's "youngest

brother and best friend." (A.32). Walid "respects" and "adores" his brother,

and considers him his "other half." (A.32). Walid cherishes the lessons he

has learned from the Imam: [H]e has set a good example of what it means to

live a[n] honest, conscious life .... [He] has also taught me a great deal about

patience and tolerance as I have watched him assist families during their

times of crisis." (A.32).


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         The Imam's older brother, Waheed, has also learned valuable lessons

 from his brother. Just before burying one of the victims of the 9111 attack,

 Imam Afzali brought Waheed to see the body of the deceased. Recounting

 the experience and the emotional words of his brother, Waheed shares,

 "Viewing the body pieces of the deceased brought us both to tears. While

 sobbing, my brother said to me, 'Brother, I hope they find the people

 responsible for this and bring them to justice because this body you see is

 one of more than 3,000 other bodies of innocent people. No man has the

right to take another's life, except God. God is the creator and when your

time is up, he'll take you. '" (A.2).

       Even more significant is Imam Afzali's impact on the newest

generation of his family. He is a father figureto his niece

who says, "Through everything in life he is the man I tum to." (A.I3). To

his niece                the Imam is more than an uncle; he is a "good

friend." (A.33). Imam Afzali's nephew,                   declares that, of all

the people in his life, his uncle "has influenced [him] the most." (A.34).

When _        s parents separated, Imam Afzali would call him every day to

comfort him and to make sure he was alright. ~xplains how his uncle

made him a better person: "Speaking to someone everyday about the

hardship of my parents separating has helped me become a stronger person


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 both emotionally and physically. His great advice has helped me help

 others, which is the greatest power any person can have." (A.34).

       While Imam Afzali is a father figure to many, he has a truly special

 relationship with his two children - his thirteen-year-old son,

 and his six-year-old daughter,                   (A.35). "With my head held

way up high, I can say with great honor that [Imam Afzali] is MY dad,"

announces. (A.35). Although the children live with their mother,

Imam Afzali sees them and speaks with them often. "[H]e is so close to

me,".,ays of his father, "He comes to see me every time I ask him to."

(A.35). The children wish they had more time with their dad: "I want my

dad to be here with me so he can teach me all the things he is in life so I can

one day become the great dad he is. I want my dad to be here to protect my

sister as she grows up." (A.35). More than anything, they "want to be in

[their] father's arms." (A.35).

      Like his children, Imam Afzali's wife, Fatimah Rahim-Afzali,

"couldn't imagine life without him." (A.36). Fatimah adoringly speaks of

her husband and his amazing qualities: In their three years of marriage, the

Imam has been "brave and reliable, passionate [and] strong." "He is

generous to a fault, and kind to strangers." He is "humble and tolerant." He

is "a leader in the community," but still "grounded, funny and sincere."


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 (A.36). Fatimah and the Imam dreamed of spending their lives together in

 this country, living in "a log cabin home on a lake with a hammock and a

 garden," and "practic[ing] [their] faith in peace and tranquility." (A.36).

 Although that dream will no longer come true, Fatimah feels lucky to find

 herselfwith a man who makes her "so happy." (A.36).

          As many of Imam Afzali's dreams have now been shattered, "[t]he

 lesson has been learned." (A.36). Fatimah Afzali avers: "We realize the

value [of] speaking the truth even if it means speaking against your own self.

Not only has a lesson been taught to my husband, but to my family and the

greater community .... [l]ustice has been served already." (A.36). The

Imam's brother Walid confinns, acknowledging that although "no excuse

will justify the error in judgment of my brother[,JI can tell you that he is

truly sorry and will be steadfast in holding finn to speaking the truth."

(A.32).

      It is Reba Elshinawy's hopethat after reading about the "kind of

person [Imam Afzali] is and all the good he has done for everyone around

him," Imam Afzali will not be judg'ed as a "criminal," but as "an exceptional

person [who] has made a single mistake, which we are all prone to doing."

(A.37).




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        Although Imam Afzali must leave this country, his supporters ask that

 he be returned to his family, without facing any additional jail time. The

 Imam's brother, Walid, implores: "Your honor, with God's mercy and

 yours, please do not take Wais and put him amongst those [who] reside

 behind bars. Let him make the necessary arrangements to transition with his

 family, with me, my mom, dad, brother, and his kids. Let us feel the mercy

 of the justice system in your decision." (A.32). Latifa Hamzane requests,

 "[C]onsider the emotional and physical hardship he has already suffered, and

 the vast amount of hardship he is sure to endure once he leaves the United

 States." (A.I3). Imam Afzali's aunt, Subhana Rahim, asks, "Please let him

leave our country with dignity." (A.21). Even the Imam's young students

.plead for more time with their beloved teacher: "Please let him cOl1tInue to

teach us each Saturday for as long as possible." (A.28). To put Imam Afzali

in jail would be a great "loss to those who seek his advice, Muslim and Non-

Muslim.... He is the key in helping our communities ... grow," asserts

Amatulla H. (A.II). Zamu Roshan Jehan, emphasizes, "[D]o not let the
                                                      I

American community, especially the Muslim-American community lose

someone like [him]." (A.IO).

       While the community will surely miss Imam Afzali, his family will

suffer the greatest loss. _    the Imam's nephew, states with confusion,


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 "It is hard to see a man with such great intentions being away from society,

 he is needed here." (A.34). His niece          is full of despair: "Without

 uncle Wais I will lose everything." (A.33). The Imam's father desperately

 asks, "[D]on't take my baby and my heart away from me." (A.I). The

 Imam's young son expresses, "It hurts me to hear my sister call out daddy,

 and daddy is not here." He begs, "Please, please, please don't take my

father from me and _             (A.35).

       "Waiting anxiously," Imam Afzali's supporters hope for

"compassion," "forgiveness," and for the Imam to return to his family

without serving any additional jail time. (A.S). The Imam's brother

Waheed implores, "Our family and ... the community need his presence,

please spare him as he has suffered enough." (A.2).

III.   THE INSTANT OFFENSE

       Previous filings in this case, by the defense and the government, have

provided the relevant background to the investigation and the circumstances

surrounding the offense conduct. There are a few facts, however, that bear

highlighting.

       Imam Afzali did not, sua sponte, insert himself into this investigation.

Members of the New York City Police Department's Intelligence Division,




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  with whom Imam Afzali had cooperated in the past,l reached out to him on

  September 10, 2010, requesting any and all information that he could obtain

 regarding Najibullah Zazi and his associates. We now know that federal and

 local officials understood that Mr. Zazi was preparing to engage in a major

 terrorist attack in New York City the next day. The NYPD, while not

 conveying this information to the Imam, did convey a great sense of

 urgency. Imam Afzali began to cooperate immediately. Because of the

 urgent nature of the    s~tuation   and the desperate need for concrete

 intelligence, the NYPD provided little guidance as to what the Imam should

 or should not do. Results were what mattered.

        Other people, more venal, would have demanded a price for

cooperation. Other people, less concerned with terrorism or more concerned

with minding their own business, would simply have refused. Most other

people, more concerned with their own welfare, would have contacted a

lawyer. Imam Afzali asked for nothing, immediately agreed to help, and,

heedless of his own well-being, did not contact counsel.

        Had Imam Afzali called counsel, he would not be before the Court

today_ An attorney would have worked out the ground-rules for his

assistance with the authorities, and would have been able to navigate the

I Imam Afazli did not request, nor did he receive, any benefits for his assistance, except
for the sense of well-being that civic virtue can provide.
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    turbulent currents that roiled the FBI and the NYPD. Of course, all of this

    would have taken time, and time was the one commodity in short supply on

    September 10th. Imam Afzali trusted the NYPD officials with whom he had

    worked. He had no inkling that the NYPD was acting independently of the

    FBI. He could not know that the FBI would blame him when they believed

    (erroneously, as it turned out), that the NYPD had compromised the

    investigation.

          But neither the NYPD, nor Imam Afzali, compromised the

    investigation. Mr. Zazi learned that the government was aware of his

    activities when he was stopped by the Port Authority Police Department,

    acting at the direction of the FBI, before he entered New York City. The

ruse for the stop was a "random" drug check, but Mr. Zazi was not fooled.

Mr. Zazi directed that the T A TP be discarded and aborted the planned

attack. 2 Imam Afzali's contact with Mohammed and Najibullah Zazi on the

morning of September 11, 2010 alerted the FBI to the fact that their

investigation had been compromised. The FBI did not know that they had

blown their own cover. They blamed Imam Afzali.




2There is additional, non-public evidence suggesting that Mr. Zazi knew oflaw
enforcement's interest in him prior to departing from Denver.



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       It was with this mind-set that the FBI took over the investigation and

began their interrogation of Imam Afzali. Imam Afzali, fearing he had done

something wrong by telling Zazi of law enforcement's interest in him, lied to

the FBI. He was afraid. The lie was a crime, and cannot be excused or

justified. Indeed, Imam Afzali has made no attempt to do anything other

than explain why he lied and acknowledge that it was a betrayal of his

values and his duties. Having told the lie once, he felt boxed in and repeated

it again. For their part, the FBI knew Imam Afzali was being untruthful

(theyhad the taped conversation, after all), and consciously chose to have

him repeat the lie in different venues to insure that, no matter what else

happened, Imam Afzali could be charged with something.




                                      19 

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   IV.   CONCLUSION

         Imam Afzali is now a convicted felon, and must leave this country

   within ninety days of completing whatever sentence the Court imposes. He

   will never be able to return. A more forgiving government, recognizing that

   its own agents played a significant role in the series of foul-ups leading up to

  Imam Afzali's midnight interrogation and lie, might suggest an exchange of

  handshakes all around and just let the guy go. We asked; it said no. But at

  least the government is not asking for jail. That's something, these days.

  Dated: 	     New York, New York
               April 9, 2010


                                          Respectfully submitted,


                                      ~r--
                                          Ronald L. Kuby
                                          Lea Spiess
                                          Law Office of Ronald L. Kuby
                                          119 West 23 rd Street, Suite 900
                                          New York, New York 10011
                                          (212) 529-0223

                                          Attorneys for Imam Afzali




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                                APPENDIX 


                            Letters of Support 

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             fredet·;c R. Biock

            !Jistrict judge

     22.5 Cadman Plaza
     BrookiYfl, NY 11201



    Dear Han. Block,


    My name is Zalma; Afzali and I am the father of Imam Ahmad Wais Afzali.
   We have lived in America for the last four generations. My father and two of my uncles are buried in
   Washington Memorial in Long Island. 1 have been here since 1981 raising my family and building a
   better life. My children were educated by the NYC public school system and both of Ahmad's brothers
   have been granted their citizenship. We have been diligent in helping Ahmad to accomplish the same
   however for one reason or another it has not been granted. Furthermore all my sons have grown up
   and had children of their own.
  I can proudly say that my son is faithful, harmless, and a beautiful hearted human being. He is full of
  quality and dignity. He is a hard working young man pursuing his AIll~rican dream. In the time of need
  he is always there whether it is a neighbor, relative, or a stranger he goes out of his way to help others.
  He loves th~s great country and is proud to be part of this great nation. ! remember when we went to
  HAJJ (pilgrimage to Mecca). Coming back from HAJJ at the Kennedy airport he got on his knees, bent
  down forward, kissed the ground and said "Thank God we are home". He just ioves this great nation.
  I can write pages about his love for the United States and its people. But time is of its essence for you
  and I won't take your valuable time.
  As a proud father I am requesting you humbly to please do not give him any jail time and don't take my
  baby and my heart away from me.
 Due to the strain and wars raging in Afghanistan, me and my wife's whole family (both nucleus and 

 extended) have relocated to the United States and established themselves as citizens or permanent 

 residents. 



 Respectfully yours,
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    : Ion.   r~      R.


    225             Plaza 

    Brooklyn, NY 11201 


   March          2010

   Honorable Frederic R. Block,

   My name is Ahmad Waheed AfZaIi, I am the older brother to Imam Ahmad Wais Afzali and
   am writing this letter to express how deeply saddened I am by this situation. Although my
   entire family's life has been greatly affected by this situation, we all are in hopes ofjustice
   being served and Wais returning home to his family without any jail time being served.

   Wais has been in America since 10 years old and he and I have never been back to our native
   land. We grew up in this beautiful country to pursue the "American Dream" together until
  this recent unnecessary and unwelcomed situation arose. Wais is a religious, peaceful and
  respectful American resident who would impose no harm on this nation. He is a proud
  American resident who hopes to be buried in U.S. soil. Wais is an Imam-a leadership
  position within the Islamic faith and the religious director ofafuneral home in Newyork. He
  is a faithful person who would never use religion to impose harm on anyone or on this great
  nation.

  When the devastating 9111 attack occurred in New York City, my brother buried a victim of
 the twin towers tragedy at his funeral home. He took me to the cooler where decea.sed body
 was in several parts and vacuum packed and stored in the cooler. Viewing the body pieces of
 the deceased brought us both to tears. While sobbing, my brother said to me, "Brother, I hope
 they find the people responsible for this and bring them to justice because this body you see
 is one of more than 3,000 other bodies of innocent people. No man has the right to take
 another's life, except God. God is the creator and when your time is up, he'll take you."

 I ask that you consider the words within this letter as they are honest and true; however, these
 words cannot express the turmoil our family faces as a result of this situation. Our family and
 those who Wais supports within the community need his presence, please spare him as he has
 suffered enough.

 Respectfully llild sincerely yours,




                                             A.2 

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                                                 SHAZIASHAH




  Hon. Frederic R. Block
  U.s District Judge
  225 Cadman Plaza
  Brooklyn, NY 11201


  Dear Hon. Block,
 My name is Shazia Shah and I'm Imam Afzali's oldest brother's wife. I am writing this letter to you,
 Honorable Judge, to express how deeply sad I have become by this situation and how I hope and pray to
 our Great GOD that Imam Afzali will be returning home to his family without serving jail time.
 I have known Imam Afzali for the past 13 years and I have never seen him to have a single thought or
 deed which would indicate he has the capacity to harm this country. In fact he is always willing to work
 for this great nation for a nominal fee. He is all about respect and peace and not much else. He is faithful
 to his family, his religious, and this country. He would never use religion to harm anyone.
 We (his family) and he are all proud to be in this country and we have all become American Citizen 

 except Imam Ahmad. It was always our hope that he too would complete this process as we always 

 hoped to do good things for this great nation. 

I request that you consider the words within this letter as they are Sincerely from the bottom of my 

heart. Although my words cannot express the turmoil our family has faced as a result of this situation, 

you can imagine the joy you would bring us by granting Imam Afzali the ability to start fresh sooner 

rather than later. 



Please I Pfease , Please Honorable Judge return my respectful brother in law Imam Afzali home to his
family without any jail time being served.


Respectfully yours,




Shazia Shah.




                                               A.3 

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           16,2010


   Hon. Frederic R. Block 

   United States District Judge 

       Cadman Plaza 

   Brooklyn, New York 


   Dear Honorable Judge Block:

   I am writing on behalf of my dearest brother-in-law Ahmad A:fzali. I have known him
   since his marriage to my sister, Fatimah, which is about 3 years now and counting.

  I fIrst met Ahmad When I was coming back from Egypt, and didn't have anywhere to
  stay. When I told my sister about my situatioJ1-, she told me "don't worry my husband said
  you can stay here." Not only did I feel relieved, but also grateful that a stranger would let
  me into his home.

  Ever since then, I have known Ahmad to be a caring, kind, honest, and an awfully
  generous person. He doesn't have the reputation of doing things so the people will praise
  him, or spread the good word about him. But I personally saw that he does it out of the
  goodness of his heart.

  Ahmad, since I've known him has never told me "No," he couldn't help me. And he is
  the same with everyone. Ahmad is known for his sincerity,· honor, and integrity-towards
  himself first, then the people of this land.  ­

 Writing isn't enough to speak: on behalf ofAhmad's character but it's a start. I pray that
 the influence of my letter will help set Ahmad free mentally of the suffering he has been
 going through in these past months.

 It isn't right for anyone of his status to be humiliated like that. I only pray that it comes to
 an end sooner than later, so that he and my sister can return to their lives of decency and
 peace as it was before.

 Ifthere are any questions feel free to contact me directly at




Xaviar Porter




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                                                 Gina T John




  Han. Frederic R. Block
  U.S. District ludge 

 225 Cadman Plaza 

 Brooklyn, NY 11201 




 To The Honorable Judge Frederic Bloc;


 I'm writing this letter in regards to Ahmad Wais Afzali. My name is Gina John and I have known Ahmad
 Wais Afzali for the past 10 years as he has been a valuable family friend to my family and I. I can confirm
that he has been a very influential person in the life of others as well as mine, especially while growing
up in New York. Mr. Afzali would always help those who were in need and would set a good example for
others. Furthermore, he was an asset to our community and made countless attempts in reaching out to
the younger generation to stay on the right track. Mr. Afzali was not only a mentor but a leader in our
community being an Imam. With the presence of Mr. Afzali within our community, he has brought
happiness, success, integrity and bondage between families. To even think ofthe unthinkable with
Ahmad Wais Afzali not being with us will leave others in spite and misery by leaving a family, community
and a country that he loves behind. I personallysee Mr. Afzali as one ofthe most helpfulsouts within
our community by helping others, especially the less fortunate, with every chance and opportunity he
gets. He is a man of good deeds and moral character as well as a person that considers and refers to this
country as his "home."




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  The Honorable Mr. Frederic R. Block, 

  United States District Judge. 


  Dear Honorable Judge Block,

 Greetings! 

 My name is Imam 'Abdul 'Azeem Khan. I am the Imam of the above stated organization for 

 over twenty years. Our congregation is about one thousand worshippers. 


  I can truly say from the bottom of my heart and on behalf ofthe congregation that
 Imam W. Ahmad Afzali is a true asset and helpful to our community. At times of need in family
 crisis he has always been there to serve with compassion, wisdom, and caring. He is a
 Dedicated Imam, Husband, Father, Son, and a true supporter not only to this community but to
 other communities and also other faiths as well.

 He is highly educated in his field and has a great respect for this country of ours, 

 The United States ofAmerica. 


 To my knowledge after 911 he has been very helpful with the Law enforcement. I could go on
 saying on his behalf but would not take your precious time.

Therefore I beg of you on behalf of the greater community, please do not take the Imam away
from us. During this ordeal he, his family and friends have suffered a lot.

May God Bless us and may God Bless the United States of America.

Thanking you.
Yours truly.



Imam 'Abdul 'Azeem Khan
 (Imam AI-IVfudeer AI-'Aarn'/ Clergy- General Director/ Founder
IHead Trustee/ Marriage Licensed Officer ~m the State of New Y
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    Naumarl Cheema


    March 21, 2010


   Han. Frederic    Block 

   United States District Judge 

   225 Cadman Plaza 

   Brooklyn, New York 



   Dear Honorable Judge:

   I am a software engineer by profession and have known Mr. Afzali for approximately 6
   years. To the best of my knowledge and belief, I have found Mr. Ahmad to be a humble
   individual with compassion for humanity, a well-wisher and a person of upright
   character.




  Mr. A:fzali has been known for providing out ofpocket, free funeral services for those
  who couldn't afford it. I have witnessed it myself for at least on three separate occasions,
  where I personally participated in funeral arrangements for people who died without
  leaving behind any guardians to take care of their last rights.




 Over the period of time that I have known him, I have seen Mr. Mzali in the capacity of a
 good friend that cares, a social worker that's there to help beyond the boundaries of
 religion and race, an appreciator of the his country The United States of America and a
 good civil individual overalL




 It's painful to see Mr. Afzali going through these tough times. I sincerely hope that may 

 Mr. Afzali be rescued from this distress, to be able to start re-establishing his life. 


 If there are any questions feel free to contact me directly at

 Sincerely,




Naumm Cheema


                                          A.7 

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  Han.           R. Block

  u.s. District Judge
 225 Cadman

  Brooklyn, NY 11201



 Dear Hon. Biod<,



 My name is Maryam Afzali and I am Ahmad Wais AfzaWs eldest niece. Each and every one of our lives
 has taken its biggest turn by this troubled situation. A turn so indescribable, words cannot explain. But
 through the pain in our bodies and through the tears in our eyes it can be witnessed. Waiting anxiously
 we have great hopes of compassion and forgiveness being served and Wais returning to his family.

 Wais is not only an uncle to me, but a father figure, and even more than a father figure, a friend. Please
 don't take this man from our lives.

 Through everything in life he is the man I turn to; until recently. How can I be there for him now and
 return the favor to him in this time of his suffer and need.

Wais is a loving being to his family, a religious leader to peers in the society, and a peacemaker among
thousands, and most of all just an American citizen who simply loves the country he resides and grew up
in. He would never put these great qualities to waste. Never put down the lives of the one's he's truly
touched.
Wais is a son, a brother, a husband, an uncle, and most of an, a father. Please don't give him any jail
time nor take him away from us. The past few months have been enough suffer for him. We need him.
Pfease take my thoughts, feelings, and words into consideration in which I've spo~en nothing but the
honest truth.



Respectfully yours,


Maryam Afzali
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                                             ATiFA d1 hi a Masjid Hazrat-i...A.buMKr 

                                          141-47 33 m Avenue, Flushing, New York '11354 

                                Mailing Address: P.O. Box 536, Old Bethpage, New York 11"804.oS3S 

http://www,masjld-abubakr.org             (718) 358-6905 	                                                          email: info@masiid-abl.lbak




    03/01/2010

    To Whom It May Concern:

    Ahmad Wais Afzali was hired as a contract Labor in 1999 to be an Assistant Imam. In 

    200 I he submitted a resignation letter due to his decision to travel for the Sacred 

    Pilgrimage (Han). 


                 Mr. Afzali' s primary responsibilities (voluntarily) included but where not limited 

    to: 


                        1. 	 Providing Islamic Education classes regularly for both Youth and
                             Adults.
                       2. Assist the Imam (Head Clergy) 

                       3.Coordinating religious events for the community 

                       4.Managing the daily activities for Masjid 

                       5.Participating in Interfaith Activites 

                       6Leading the Prayers daily (in absence ofbnam) 


  Mr. Afrali was hired upon completion of his Islamic Education. He was a valuable 

  Contract Labor and is a respected Imam. As an Imam, Mr. AfZali has proven to be a 

  valuable asset to the Muslims, Christians, and Jews. 




  If you have any questions; feel free to contact:
            '\    t1  --- 17 IJ
       V("        ['- ·0~
 Abulrahman Jalili

 President Atifa d/b/a Masjid Hazrat-iQAbubakr


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                         Judge



  Dear Honorable Judge:

      Sheikr.~  Aluned Afzali is an amazing person. Yes, he came to Brooklyn College and lectured the students, a
   fIne lecture. But, I met him once in person, when he alone gave my mother an Islamic buriaL He was so open­
   minded, and so humble. It is a character trait that is lost among all people. I was not even sure if my mother was
   a Muslim, in which case, if she was not, you are not allowed to give this person an Islamically-styled buriaL
   But, despite me, expressing this concern, Sheikh Afzali proceeded with the burial, anyhow. He mentioned that
  no one knows what's inside someone's heart, and it is Allah who will judge. A.lld, to add to this I am a Muslim
  female. He didn't tum me away, and he answered all of my questions and advised me and my brother. Whatever
  stereotype, you have, I think it is imperative that you drop it.. Based on these factors, do you actually believe
  that Brother Afzali, would do acts of terrorism against the American community. Every word he said I wish I
  could have maintained in my mind. So, I am sad I could not hear him lecture another time. But from the things
  he said, he possibly could not have been related to terrorist charges.
          At my mother's funeral, it was mostly non-Muslims who attended. He gave a lecture, that even the very
  strong Christians there, were nodding there heads to. Even, one ofthem came up to me, and expressed how
 right he was. He probably has to be the first person that opened my mind to how truly amazing pious Muslims
 really are. He has the character of a scholar, although he has brushed off and even in ways denied it. You will
 be losing an amazing person in the community, ifyou deport him. Although, this letter is anonymous, due to me
 not being aware of this earlier, (1, sign, off with my mothers name), I plead that you release our brother. I beg
 that you release my brother. He is hope for our community, for our youth, that could otherwise, go off in
extreme or careless paths, and it is characters like him that decrease the ignorance, the hate, and the extremism.
He gives hope to me and to others alike, as he helps so many cope with the, many times, lonely deaths that
occur in the community. He took that role on solely, at least from the few years ago that I remember. This is
truly someone who is an activist who does gpod for his community.

        My mother was not Muslim for a while. That is for sure, although, I believe, she became Muslim, again,
later. But, the reason, I am sure that she was not Muslim for a period of time, was because ofthe ill way many
so-called Muslims treated her. I am so glad that, in the end, it was a Muslim that gave her the most proper
treatment. I saw my mom, who I did not live with, in such an utter state from the stroke she experienced before
she died. But, upon coming to the Funeral home, and the preparations that Sheikh A:fZali's funeral home
undertook, her face looked truly in peace. Her face seriously glowed with light. How can such a person, who
helped my mom, really be bad person?

     Again, I plead that you do not let the American community, especially, the Muslim-American
community lose someone like Sheikh Ahmed Mzali.




                                                   A.I0 

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    AmatuHaH.



    Hon. Frederic 

    United States 

    225 Cadman 



   Dear Honorable Judge:
           I am Amatulla H and have admired Imam Afzali for the great work he has
   assisted many college students with, in the few years I've seen him. It would be a crime
   to hold such a man injail, to not live amongst our community after numerous positive
   changes have been made because ofhis intellect and readiness to assist those in need.

            He visited Brooklyn College for lectures and this man has greatly benefitted the
   effort to bring both Muslim and Non-Muslims together to learn and speak openly to one
   another about the misconceptions about Islam. He left an incredible impression on the
   students who were not Muslim and was always open to answering their questions without
   hesitation. He has one of the most genuinely trustworthy and engaging characters that tt.is
   world has seen in a long time. His sincere advice aided many young men and women at
   Brooklyn College to further their studies and encouraged that they know their true paths
   (i.e. doctors, lawyers, etc.). He taught us not to waste time, but to always use our intellect
   and time wisely and for the best of our community. Some parents don't even advise their
   children the way he has advised strangers at Brooklyn College! This man is amazing in
   his efforts and he made a difference mso many lives thus far.

           Anyone can understand the physical and mental strain that people go through in
  this process, he doesn't deserve it. It would be a complete loss to those who seek his
  advice, Muslim and Non-Muslim. He is a great community builder and we don't want to
  see this man under any more burdens than we have witnessed thus fur. Please, we beg
  you, do not punish this man; he is the key in helping our communities, Muslim and
  NonMuslim, grow!

                                                        Sincerely,
                                                        AmatullaH.




                                          A.ll
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    Ahson Mahfooz


   March 16, 2009
        Frederic R.
   United States District Judge
   225 Cadman Plaza
   Brooklyn, New York

   Dear Honorable Judge:

            I am Abson Mahfooz and have known Imam Afzali for 5 years. He assisted me in
   becoming a better American Muslim so that I may help my community grow in a Positive
   maIL'ler.
            I have known Imam AfZali through events he has done at Brooklyn College. He
   was invited as a guest to numerous events at Brooklyn college to talk to the students of
   various clubs about Leadership and giving us advice on ways to live a better and pure
   Life. Imam AfZali has shown his love for the US by always being a good American
  citizen. Imam Aftali is an amazing guy, I'm really going to miss him once he is gone. By
  the way, he really is a handsome guy.
           Imam Mzali should not be given any jail time. He has suffered enough by being
  cut offfrom so many of his friends and not being to be able to live a peaceful andjoyful
  life just like any other US citizen.

  If there are any questions, feel free to contact me at
  Sincerely,
  Ahson Mahfooz




                                         A.12 

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 HOll.          R Block 

 United States District Judge 

 225 Cadman Plaza 

 Brooklyn, Nevv York 


 Dear Honorable Judge,

  I am Latifa Harnzane and I have known Afzali for 3 years. He has done a few events for the
  Muslim Student Association in Brooklyn College after which all attendees grew to appreciate
 him a lot more. He also did an event in the College of Staten Island; it was a multi-faith panel
 with a Priest, a Rabbi, and an hnam (Afzali) discussing their respective religions. Among the
 attendees were Jews, Christians, Muslims and atheists, yet irrespective of religion each person
 applauded Afzali's good humor, effective speaking methods, and his positive aura. He has
 positively influenced all who come in contact with him, always promoting peace and equality in
 addition to respect for other people irrespective of religion or race. He is also the one who
 performed the marriage ceremony between my husband and me, more than a year ago, and I
 remember that day as if it was just yesterday. From the first day that I met him, he has been
 nothing but cordial and respectful, he always has good advice to give, and he is always
 promoting tranquility and good wilL

 Everyone makes mistakes and there are always consequences. Afza1i is leaving the country as
 well as all his family and friends behind, he has to relocate and get accommodated with new
 surroundings allover again at an age when he should be resting and aging with loved ones by his
 side. This is a heavy emotional burden as it is, without adding any other penalties on him.
As a judge, you see many cases in front of you, and you know the people by the crimes they
commit, the mistakes they make, but you do not hear about the good that they have been doing
their entire lives. I am writing this letter to tell you about the other side of the person you see as
just another case, just another judgment. I am making a sincere request for you to consider the
emotional and physical hardship he has already suffered, and the vast amount of hardship he is
sure to endure once he leaves the United States. I have full fuith in your ability to consider all the
facts carefully and make an appropriate judgment regarding such an important member ofour
community.

If you have any further questions feel free to contact me



~r~
Latifa Hamzane




                                            A.13 

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     Ali Jawad



     March 26, 2010

    Han. Frederic R. Block 

    United States District Judge 

    225 Cadman Plaza 

    Brooklyn, New York 


    Dear Honorable Judge:

            I am Ali Jawad and have known Im&."TI Afzali almost two years.
    I am a student from the College of Staten Island. I was also the previous president of the
    Muslim Student Association. About a year ago, I organized a multi faith event in the
    College of Staten Island. There was a Rabi, a Priest, and an Imam. Each speaker had
    15 minutes to discuss the topic "Who's God." Our original speaker canceled on us the day
    before the event. We desperately struggled to find a replacement, but was unable to. Just
    when we've given up all hope, Imam Afza1i agreed to take the task. The audience was
    awed by his charm, wittiness, and manners. Hillel, the Jewish club, was exceptionally
    pleased with him. They requested that we bring him again.

            It pains me to see the troubles and humiliation Imam Afzali is going through.
   The purpose of this letter is to persuade you to relieve this gracious man from anymore
   distress. He is a sweet and humble man, and there is no doubt that any harm caused by
   him were unintentional and with entirely pure intentions. Heis a man ofexcelled
   character, and I beg that you show him leniency. Please exonerate him from any further
   persecution, and spare him from serving time in prison.


   If there are any questions feel free to contact me directly




                                          A.14 

Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 39 of 62 PageID #: 102




                                        Masjid Abubakr & Community Center

                                            116_45 Suthpin Boulevard
                                               Jamaica NY 11434


          Honorable Mr Frederic R Block
          United States District Judge
          225 Cadman Plaza
          Brooklyn NY




  Dear honorable judge, we members of Masjid Abubakr & Community Center, in Jamaica Queens
 NY, have known Mr Afzali for more than three years now through the Islamic Funeral Service
 where he works now. He has been serving our Community since we knew him. Furthermore, he
 always leads our Friday Prayer whenever we are in need of him positively. Through the preaches
 he gives us on Fridays, he often tells us about how great this country(USA) is. Therefore, we are
 delighted to let you how kind this man is to our Community.
 Your sincerely

                                      Masjid Abubakr & Community Center

                                       Chairman:




                                           A.15 

Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 40 of 62 PageID #: 103




                o
 Hon. Frederic Block
 United States District
 225 Cadman Plaza
 Brooklyn, New York


 Dear Honorable Judge,

My name is Saman Ibrahim and I met br.lmam Afzali about 4 years back,
when he assisted us in arranging my father's funeral.

He'\l\fas very helpful to guide me, he helped and supported us through a
vSfy-dffficult time in our lives.

He always had great regard for this country and always advised us to be
positive towards the country we live in.




                                  A.16 

Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 41 of 62 PageID #: 104




     Hen.            Block
     United       District
     225 Cadman Plaza
     Brooklyn, New York

    Dear Honorable Judge:

    I am Eemaan Khurram and I've known Brother Afzali for 3 years ,he
    assisted us in arranging my grand father's funeraL



    He always told us to be good to our country and be a good citizen.



    Thanking you,



    Eemaan Khurram




                                 A.17 

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   Invite with wisdom and beautiful preaching to the way   Lord and convince them the best way: (Holy Qllmn: 16:125)



                                                                                              March 22, 2010



                                TO WHOM IT MAY CONCERN


    It is my pleasure to write this letter on behalf of Mr. Ahmad W. Afzali. Mr. Afzali is
    very well known in the community and a very active social worker. Anywhere there
    is need for help or assistance Mr. Afzali is always there to care and share, and
    provides the needed help and assistance. Mr. Afzali is very actively involved in
    Islamic Funeral arrangements and Islamic Burial & Shipping Services.

    I know Mr. Afzali for last 5 years. He is a practicing Muslim; has a charming
    personality and amiable character.

    I wish him the best of luck.

   Please feel free to contact the undersigned if you have any question concerning the
   above.

   Sincerely,

                      '~~I
       I[         i    U
   ~.e      H a Abdelghani
   jJ:.SSlstantDirector
   I




                                                  A.l8
Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 43 of 62 PageID #: 106




 March 17,2010



 To Whom It May Concern:



I am vvriting this letter at the request of Imam Ahmad AfZali who is the funeral director of
Islamic Funeral home in Ozone Park, Queens. I have known Imam Afzali since 1997 while he
was working as assistant Imam at Masjid Abubakr in Flushing, Queens. Imam AfZali has
performed funeral services for many members of our Masjid and delivered sennons at our
Masjid on a few occasions. We found Imam Afzali to be very helpful, courteous and posses a
commendable knowledge in Islam.

We wish him the best in both here and hereafter. May Allah (SWT) bless him for his work for 

the bettennent of Muslim communities and the communities at large in New York. 




Sincerely,




Directtlr.




300                                                       E               ,NY         1040

                                      E..."



                                        A.19 

Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 44 of 62 PageID #: 107




                               Obaid Achekzai 





    HOll. Frederic R. Block
    U.S. District Judge 

    225 Cadman Plaza 

    Brooklyn, NY 11201 



    HOll.   Block,

     I Obaid Achekzai a citizen of the United State of America residing in Fairfax County,
     Virginia am respectfully writing this letter to express my personal opinion in regards to
    Mr. Ahmad Wais AIZali whom I have known for many years . In 1989 I had a call from
    my cousin from Harrisburg, Pennsylvania about my 17 years nephew Mustafa Rahimi .
    who hanged himself and took his life by committing suicide. The entire family especially
    his parents were severely devastated by this tragic incident. I called Mr.Wais Aftali and
    told him about the situation. One hour later Mr.A1Zali showed up at our House in Vienna,
    Virginia and offered his help and assistance. He canceled all his previous commitments
   and went with us to Harrisburg, Pennsylvania He helped the family spiritually and also
   arranged the funeral and burial services. Mr. Afzali has been a good asset to the
   community due to his devotion and dedication as an imam to public, health facilities, and
   community centers.. He has heIpedand supportedtenninal1y ill patients in the hospitals,
   hospices and their homes, assisting people who lost their loved ones with funeral
   precessions, and attending and conducting wedding and engagement ceremonies. He has
   helped to educate the young generation to abide to the rule oflaw and to be a good
  member of the community. With great respect I hope you consider my opinion in your
  judgment toward Mr. Wais Aftali's case.




                                         A.20 

Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 45 of 62 PageID #: 108




        Cadman 

    Brooklyn, New York 


    Dear Honorable Judge:

    I am Shadma Khurram and I've known Iman Afzali for 3 years ,he assisted
    us in arranging my father's funeral.



    He was very supportive, he helped and guided us through a very difficult 

    time in our lives. 




   He has always advised us to be positive and appreciate the great country 

   that we Iive in. 




   Thanking you,

   S~        KhOt1cGW\
   Shadma Khurram
                      ,




                                   A.21 

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    My mother and a brother passed away about four years back and I needed help to
    do the funeral according to our religion requirements. I was referred to
    Mr, Ahmad W. Afzali. He not only took care of entire funeral process, but made
    several visits to our family to give us comfort and advise. He is very gentle and
    friendly person that we were very lucky to have at the time of deaths in the family.
    I wish him well for the difficult times he is going through.




                                       A.22 

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    March 16,2010


   Hon. Frederic R. Block
   United States DisLrict Judge
   225 Cadman Plaza
   Brooklyn, New York

   Dear Judge Block:

   I have known Imam AfZali since August 2005 when my father died. My father's death
   was sudden and unexpected, so my family needed a lot of support. Imam Afzali' s
   support was invaluable. Although death is certain, grieving a loved one is not easy.
   Nevertheless, the Imam gently guided my family through our death experience and gave
   my father a dignified and lovely janaaza (funeral). Because of the Imam, my memories
   of my father's funeral are warm and loving. We will always be grateful to him for this.

   A year later, my family had the pleasure of making the Imam a part of our family. He
   married my niece. Now, he is my nephew, Ahmed. This thought always brings a smile
   to my face because he is older than me and calls me "Aunty."

  I have visited his home on many occasions. He has welcomed me in and has been loving
  and gracious to my young children. There is always has a delicious spread of food ~
  chicken, beef, fish, rice, pasta, pizza, juice, soda, cake and other desserts. You name it,
  and it is there. But, more than the food is the love and laughter that fills the air. Ahmed
  has big spirit that is always giving, healing and nourishing those around him.

  Our family has suffered enough. My niece and Ahmed have suffered enough. Please let
  him leave our country with dignity.

  If there are any questions feel free to contact me directly




  Subhana A. Rahim, Esq.               -_.

                                          A.23 

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                     (718) 537-8318 

                                            ~-------.-~------.------                                   ....-~-.




Bronx, NY J0456




                                                                               Tuesday, March 23, 2010

 Ahamed W Afzali

 Han Frederic R Block

 United States District Judge

 225 Cadman Plaza

 Brooklyn NY




Dear honorable Judge

We are the community ofMasjid Nur AI Islam 1151 Sherman Ave Bronx NY 10456.' We know Mr. Afzali
round about five years. Through the Islamic funeral services he is being dqingfor our community also
through the Friday sermons'he is being given to our community and when ever weare in need of him he
is always there. He also duringhis'sermon and speeches he tells us good examf.lfe and remarks about
America, what we know about him that he loves America. Therefore we knowMr. Afzali to be of good
character, honest and trustworthy.




                                         ~
                                             Sincer~~~"
                                             €W-fF~
                                           asjid Nur AI Islam
                                                                ,
                                                Imam




                                           A.24
Case 1:09-cr-00716-FB Document 20 Filed 04/12/10 Page 49 of 62 PageID #: 112




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    Mohamed F.
    President
    Kamal Khan,
    Treasurer
    AhamadAli,




    March     2010


   Honorable Frederic R. Block 

   United States District Judge 

   225 Cadman Plaza 

   Brooklyn, New York 11201 


   Dear Honorable Judge:

   We, the undersigned of the Sunnat-UI-Jamat of New York, Inc., do hereby acknowledged
   and testify on behalf of Imam Ahmad W. Afzali's outstanding service. He has diligently
   served in our community .for almost a decade. His loyalty to his country, his faith, his
   community, family and friends has been above and beyond the call of duty_ He has
   provided outstanding service and shown true dedication towards the diverse needs and
   concern of our congregation and the surrounding community.

   Thank you for your attention to this matter. If you have any further questions, please do
   not hesitate to contact either Mohamed F. Khan at (646) 753-0617 or Imam Ahamad' Ali
   at (718) 824-3032.


  Very truly yours,

   1v/~~/~
  Mohamed F. Khan
  tJ/J
!Jsident


~d~
                                           A.25 

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    Rustam AbduHaev


    March 17.2010

    Hon. Frederic R. Block
    United States District Judge
    225 cadman Plaza
    Brooklyn, New York

    Dear Honorable Judge

          I am Rustam Abdullaev and have known Imam Afzali for about a year. I have
   repeatedly volunteered his at funeral washings. From the first day that I met him, he has
   been nothing but friendly and courteous, he always has excellent advice to give, and he is
   always encouraging tranquility and good will. He has positively influenced me in many
   ways, always supporting peace.

   I believe that Imam Afzali had endured enough hardship so I ask you to please consider
   that and not give him time to serve. A man with his character and morals does not belong
   in jail.


    If you have any further questions feel free to contact me at


                                                               Sincerely,
                                                             ustam Abdullaev




                                          A.26 

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                  R Block
                District Judge 

    225 Cadman Plaza 

    Brooklyn, New York 


    Dear Honorable Judge,


             I am Noor Rabah. I have known Shaykh Ahmed Afzali for approximately 4 years,
    but I have spent much time with him to feel that I've known him for most of my life. I
    worked with him in the funeral home for about a year and the time that we have spent,
    along with the experiences we have encountered together- as coworkers and as brothers
    in faith, I am proud to say that he is a Father figure to me.

            I have been with Imam Afzali through times of ease and hardship, through times
   of patience and through times of guidance. He has an extremely high level of moral
   character and those who have attending his lectures or walked into the funeral home can
   testifY to this fact.

            His services in the funeral home is not that of one on a business level, rather he
   took his career to a personal level and saw to it that each family was attended to,
   consoled, educated on life and death- and due to this and his mannerisms while carrying
   out his job,he created and strengthened bondsamengst family members, amongst
   brothers and sisters in faith, and even amongst nonMuslims who have crossed his path.

          The true Judge is the Creator of the Heavens and Earth and all in between, but
  you share an extremely valuable and precious position in making very effective decisions
  in pursuit of Justice.

          And I respect that you have earned your position through studies, years of
  sacrifice and tons of experience. So I humbly as you to remove Imam Afzali from any
  more hardship and embarrassment that he already had to experience. Prison is for people
  who can't live decently amongst their societies. Imam AfZal.i surely doesn't belong there.

                                                                      Sincerely,
                                                                Noorud e         ah




                                          A.27 

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                                  A.29 

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  Hon. Frederic ft Biock
  u.s.   District Judge

  225 Cadman Plaza
  Brooklyn, NY 11201



  Dear, Han. Block,



 My name is Salima Afzali and I am Ahmad Wais Afzali's mother.
 J was a teacher for almost twenty years and I have taught thousands of young students. My duty as a
 teacher was to present great, honest, honorable, smart, and educated individuals into society. I can
 proudly say that Ahmad Wais Afzali is not only my son but he was also my student.

 I can sincerely say that my son is a genuine, down to earth, humble young man to his family; and to this
 great nation, the United States of America. Please do not count my son as one ofthose ignorant people
 who want to harm this great land.

 Wais was never involved and never will be involved to any groups which have negative intentions
 towards others; it'sbeen an unfortunate situation that my son was brought into these circumstances.
 But deep inside my heart I know that he is not a person who would harm others or this great nation of
 ours.
He works as a Imam (religious leader) / funeral director and has helped thousands during their time of
crisis and needs. Please do not give him any ja il time and do not take him away from me. I feel very ill
and I am not sure jf' will make it through another day. I would like to have the pleasure of my son taking
me to my grave.



Please consider this desperate mothers plea.



Respectfully yours,       .
                 h,.l
                .~~_A"


Salima Afzali




                                               A.31 

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  u.s.   District judge

  225 Cadman Plaza

  Brookiyn, NY 11201



  Dear Honorable Frederic R. Block,

  This letter is written by Walid Afzali, Ahmad Wais Afzali's youngest brother and best friend. I adore my
 older brother very much as he has set a good example of what it means to live a honest, conscious life. I
  have learned a great deal from his experiences over the years and have developed a lot of respect and
 compassion for him. My brother is a polite human being. He and I grew up together under difficult
 hardships and circumstances but he always managed to remind me to look on the bright side of things.
 My brother has also taught me a great deal about patience and tolerance as I have watched him assist
 families during their times of crisis.
  We are very close in age and I see him as a twin, much like my other half. We have been there for each
  other through everything in life. From youth, into becoming a teenager, and finally developing into the
 men we are today, we have been through it all together. Not to say that he is the best of all but I can
 confidently say; he is a one of a kind. He is a gentleman who is and can be a great asset to the people he
 is around.
 My brother has suffered extremely and we are all traumatized by this experience especially me. Let us
regroup and reestablish ourselves as we transition into the next phase of our lives together. As I am
sure you can understand that no excuse will justify the error in judgment of my brother! can tell you
that he is truly sorry and will be steadfast in holding firm to speaking the truth.
Your honor, with God's mercy and yours, please do not take Wais and put him amongst those reside
behind bars. Let him make the necessary arrangements to transition with his family, with me, my mom,
dad, brother, and his kids. Let us feel the mercy of the justice system in your decision.


Respectfully yours,



Walid Afzali        ,1­
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  iAJalA.((/(/?, T




                                                A.32 

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 Hon.            R.


 225         n
 Brooklyn, NY 1 1201


Dear, Honorable Frederic R. Block,
My name i s _ and I am 14 years old, and Ahmad Wais Afzan's
youngest ni~e Wais has been nothing but a good friend to me. He's
the type of person who doesn't judge a book by its cover. He has nothing but
respect for every individual. He has never put anyone down, he only helps as
much as his will power allows.
During my sad limes he has always been there and pushes me up to the top
again. The day I found out the situation my uncle was in; before I could speak, I
started to cry. I broke down and thought to myself, 'Uncle Wais? This isn't true:
For a couple of days I couldn't go to school. My mind and body wouldn't
function. I really hope my uncle doesn't get any jail time.
Without uncle Wais I will lose everythi.ng. He has a big head and for him to leave
us would be very hard for me. Please, just think about his two little children. If I
cry day and night thinking about what could happen, then imagine what his
babies are going through. So please, with all due respect, let him be free.




                                     A.33 

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 Hon. Frederic R   B~ock

 U   District
 225 Cadrnan

 Brooklyn, NY 11201


 Dear Honorable Judge Frederick R. BlocK,

 , am pleased to say that Ahmad Wais Afzali is my uncle. As I am very unfortunate of his 

situation, I am honored to give my knowledge of a dearest uncle. i have run into many people 

in my life that have influenced me, but I can truly say Wais Afzali has influenced me the most. 

As an imam {religious leader}, he has helped many fortunate and unfortunate families, 

charities, and even families in mourning. His passion for the United States is admirable. 

Although he was from Afghanistan, United States is his home. Wais Afzali will do any great 

deed to help this great nation in which he loves. 


When my parents separated I had lost connection with a lot of family members. Uncle Wais
was one of the very few people that would call me every day to make sure I was emotionally
stable. Speaking to someone everyday about the hardship of my parents separating has helped
me become a stronger person both emotiooally and physically. His great advice has helped me
help others, which is the greatest power any person can have.

It is hard to see a man with such great intentions being away from society, he is needed here.
After speaking to him recently, I can hear the suffering in his voice. Please don't make this
suffer greater than it aJready is and don't give him any jail time. His positive influences and
great deeds to this country will never be forgotten and can hopefully only grow from here on
out. This letter only states the very few great traits of Wais Afzali, and I hope that you will
acknowledge them as well. Thank you in advance for your time.




                                            A.34 

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                                               .,).




  Han. Frederic R. Block
  U.S. District Judge

 225 Cadman Plaza

 Brooklyn, NY 11201


 Ta Han. Block,

         My name i s _ a n d I am the one and only son of Ahmad Wais Afzali. With my
 head held way up high, I can say with great honor that Wais is MY dad. I am thirteen years old
 and I have a younger sister, Zulaikha Afzali who is six years old. In this sad time of o u r s , _
 cannot write yet. $0 I would like to speak to you from the both of us.
         My sister and I are in a really hard situation because my parents are divorced and my
father lives five hours away. Even though that seems so far, he is so close to me. He comes to
see me every time I ask him to; he sometimes even comes that same day! But now I cant call on
him anymore because of his restrictions. We always took turns to go see him or he comes to
see us. My sister and I only want to be in our fathers arms. Day and night this is our prayer. It
hurts me that I cant see him whenever I want to now. It hurts me to even think my father could
go away from me. This is the time I am growing into a teenager and I need my father just as any
son does. It hurts me to hear my sister call out daddy, and daddy is not here. Please, please,
please, don't take my father from me an~
      Every time we are with my dad, we are never a minute apart. We even sleep on the
same bed. I want to wake up next to him every morning of my life, forever.
       I want my dad to be here with me so he can teach me all the things he is in life so I can
one day become the great dad he is. I want my dadto be here to protect my sister as she grows
up.
        Please don't take my dad from me and my sister. Don't close his arms towards us.
Please let us join him forever and always with open arms. PLEASE accept my prayer from a son
and a daughter who only want their dads love.
        Me and my sister already have been suffering from our parents separation but to
separate him from us for good will tear us apart and me and my sister will be broken into
pieces.




                                            A.35 

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     Fatimah Rahim -Afzali


     March 21,2010


    Hon. Frederic R. Block 

    United States District Judge 

    225 Cadman Plaza 

    Brooklyn, New York 


    Dear Honorable Judge:

    My name is Fatimah Rahim, and { am the wife to Imam Ahmad fu~li. We have been
    married for nearly 3 years and during our journey together my husband has shown
    characteristics consistent with the ideals of America. He is brave and reliable, passionate,
    strong, and detennined to build his own version of the American dream. We looked
    forward to a log cabin home on a lake with a hammock and a garden. Simply serene was
    what we dreamed of so we could practice our faith in peace and tranquility.

   My husband is an integral part of my life and I am often amazed to find myself so happy
   and pleased with him. In fact, I couldn't imagine life without him. He is generous to a
   fault, and kind to strangers. I have seen him give to those who ask without any
   expectation of receiving the same from another. A man who never asks others for
   assistance, Ahmad is humble and tolerant.

   Asa man who is a leader in the community, he is grounded, funny and sincere. During
   his lectur.es he admonishes himself and others against becoming lazy, selfish, and'ill­
   mannered. These characteristics are deterrents from contributing to your country and
   cause weakness and instability in the community. This is just an example of his message.

  The lesson has been learned. We realize the value is speaking the truth even if it means
  speaking against your own self Not only has a lesson been taught to my husband, but to
  our families, and the greater community.

  As we appear before you to hear your decision, you may feel comforted to know that
  justice has alr~ady been served.




                                          A.36 

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    Hon. Fredric Block 

    United States District Judge 

    225 Camdan Plaza 

    Brooklyn, New York 


    Dear Judge,

             I am Heba Elshinawy, and I have personally known ~am Ahmed Atzali since
     2007; I met him at a workshop where he was teaching that the community the appropriate
     protocols to take upon someone's death (from funeral arrangements to cemetery
     information and death statistics). He is quite knowledgeable in this topic as he is the
     Funeral Director of Islamic Burials, located in the heart of Woodhaven Blvd. I have
     actually also met his family (wife) that day and several times after where I would
    regularly volunteer with her at funeral washings. She is a respectful educated women
    whom always spoke very well of her husband and I did not see otherwise from my
    dealings with him.
            Imam AfZali always took care ofothers and assisted them when a need arises. He
    is generous, very well mannered, and is indeed an asset to our community. Although he is
    a busy person, he would always go out of his way to ensure I got home safely so I
   wouldn't have to take a two hour train ride back nor pay a $40.00 cab fee. He would
   always make himself available for informative lectures to both Muslims and Non­
   Musl:ltnsalike.:.assists everyone rroIticollege students toSem()t citizens increase in better
   character as commanded by God, as well as being a resource if they needed personal
   advice or resources to make proper arrangements for their loved ones after death.

           Imam Afazli is now leaving the country to which he called home, and after many
  years ofhis life here, he will need to go to another. He, at an older age, will be alone
  without his family, friends, nor familiar surroundings- which is an especially hard
  transition for anyone to endure. I am confident in you as a just and honorable Judge, that
  upon reading the kind of person he is and all the good he has done for everyone around
  him; his judgment will not be that of any criminal but an exceptional person which has
  made a single mistak:e, which we are all prone to doing.

                                                 Thank you for your time and cooperation,
                                                          ba shinawy




                                          A.37 

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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------x
  UNITED STATES OF AMERICA,

  -v-                                                         Cr. No. 09-716 (FB)

  AHMAD WAIS AFZALI,

                                        Defendant.
  --------------------------------------------------------x
                            AFFIRMATION OF SERVICE

          RONALD L. KUBY, an attorney duly admitted to practice before the

  courts of the State of New York, and a member of the bar of this Court, hereby

 affIrms under the pains and penalties of perjury that on April 9, 2010, he

 caused to be served two true copies of Defendant's Pre-Sentence

 Memorandam with Appendix in the above-captioned matter upon AUSA

 Jeffrey H. Knox and AUSA Berit Berger, Office of the U.S. Attorney

 271 Cadman Plaza East, Brooklyn, NY 11201 by hand.

 Dated:         New York, New York
                April 9, 2010



                                             /RONALD L. KUBY 

